Case 1:05-cv-00745-RJA-HKS Document8 Filed 12/08/08 Page 1 of 15

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

 

MARIA E. WAGNER and

 

KEVIN WAGNER,
NOTICE OF MOTION
VS. TO COMPEL DISCOVERY
THE SHERWIN-WILLIAMS COMPANY and
SHERWIN-WILLIAMS DEVELOPMENT Civil No.: 05-CV-0745 E/SR.
Defendants.
MOTION BY: Defendants, The Sherwin-Williams

Company and Sherwin-Williams Development
RETURN DATES To be determined by the Court.

RELIEF REQUESTED: An Order, pursuant to FRCP 37(a) compelling plaintiffs to
respond to discovery, and for a conference with the Court
to reset a scheduling order, schedule a date for trial, and/or
for settlement purposes.

SUPPORTING PAPERS: Ali pleadings and proceedings herein, together with the
annexed Affirmation of Christopher G. Floreale and its

exhibits.

ANSWIERING PAPIORS: ‘To be served in accordance with the Court’s schedule for
this motion, and at least 7 days prior to the return date.

CERTIFICATION: Moving counsel hereby certifies pursuant to FRCP
37(a)2)(B) and local rule 37 that he has conferred in good
faith with plaintiffs’ counsel in an effort to obtain the
material sought herein without Court action.

DATED: Buffalo, New York

December 8, 2008
Case 1:05-cv-00745-RJA-HKS

TO:

445777.1

Martin J. Zuffranieri, Esq.
Attorney for Plaintiffs
The Eberhardt Mansion
2746 Delaware Avenue
Buffalo, New York 14217
(716) 875-5000

Document 8 Filed 12/08/08 Page 2 of 15

GOLDBERG SEGALLA LLP
By: s/Christopher G. Floreale

Christopher G. Floreale
Attorneys for Defendants
665 Main Street, Suite 400
Buffalo, New York 14203
cfloreale@goldbergsegalla.com
Telephone: (716) 566-5436
Facsimile: (716) 566-5401

 
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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

 

MARIA E. WAGNER and
KEVIN WAGNER,

ATTORNEY APFIRMATION
VS.

Civil No.: 05-CV-0745 E/SR.
THE SHERWIN-WILLIAMS COMPANY and
SHERWIN-WILLIAMS DEVELOPMENT

Defendants.

 

Christopher G. Floreale, an attorney duly admitted to practice before the Courts of
the State of New York, affirms the following under penalty of perjury:

L. Tam a member of the law firm of Goldberg Segalla LLP, counsel for
defendants. As such, | am fully familiar with the facts, circumstances and prior pleadings
of this action.

2. This affirmation is submitted in support of defendants’ motion to compel
certain discovery of plaintiffs.

3. ‘This matter was commenced by the filing of a summons and complaint on
or about September 15, 2005, in New York State Supreme Court for Niagara County,

Defendants thereafter on October 19, 2005 filed a Notice of Removal.

A. Defendants served an answer to the complaint October 24, 2005.
5, This matter has moved very slowly. The second scheduling order entered

for this matter has expired, with discovery closing in May of 2007 (Exhibit A, docket,

number 7).
Case 1:05-cv-00745-RJA-HKS Document8 Filed 12/08/08 Page 4 of 15

6. A conference was held before Hon. John T. Elfvin on June 22, 2007, to
schedule a trial date. Instead, at that conference, counsel were advised that the matter
was being reassigned to Judge Arcara (Exhibit A, docket number 8).

7. There has been no activity in this matter and there are no pending
deadlines for this matter since the June 22, 2007 conference (Exhibit B,
deadlines/hearings for 1:05-cv-00745-RJA),

8. In December of 2007, defendants, pursuant to an authorization provided by
plaintiffs, received an extensive file from Social Security Disability. In connection with
that file review, defendants requested a number of additional authorizations and
information. To date, plaintiffs have not provided the requested authorizations and
information (Exhibit C, letters dated December 5, 2007, May 1, 2008, and November 6,
2008). The foregoing constitutes defendants’ good faith effort pursuant to FRCP
37(a)(2)(B) and Local Rule 37 that he has conferred in good faith with plaintiffs’ counsel
in an effort to obtain the material sought herein without Court action.

9. Defendants believe that the information requested is material and
necessary to defending the matter, and in evaluating the value of plaintiffs’ claim.

10. In an effort fo move this matter forward, which as been lingering since
2005, defendants make this motion requesting an order compelling plaintiffs to provide
the requested information and authorizations, as well as to schcdulc a conference with the

Court, so that a new schedule can be put in place.

By: s/Christopher G. Floreale

 

Affirmed under penalty of perrury December 8, 2008
445777.1
Case 1:05-cv-00745-RJA-HKS Document8 Filed 12/08/08 Page 5 of 15

CERTIFICATE OF SERVICE
I hereby certify that on December 8, 2008, I electronically filed the
foregoing motion to compel discovery with the Clerk of the Western District Court using
its CM/ECE system.
I further certify that on December 8, 2008, I mailed a copy of the
foregoing motion to compel to the following, non-CM/ECF participant:

Martin J. Zuffranieri, Esq.
Attorney for Plaintiffs
The Eberhardt Mansion
2746 Delaware Avenue
Buffalo, New York 14217
(716) 875-5000

GOLDBERG SEGALLA LLP
By: 8/Christopher G. Floreale

Christopher G. Floreale
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665 Main Street, Suite 400
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Facsimile: (716) 566-5401
Case 1:05-cv-00745-RJA-HKS Document8 Filed 12/08/08 Page 6 of 15

 
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SETTLE

U.S. DISTRICT COURT
U.S. District Court, Western District of New York (Buffalo)
CIVIL DOCKET FOR CASE #: 1:05-cv-00745-RJA

Wagner et al v. The Sherwin-Williams Company et al

Assigned to: Hon. Richard J. Arcara

Referred to: Hon. H. Kenneth Schroeder, Jr (Settlement)
Cause: 28:1441 Petition for Removal- Personal Injury

Maria EK. Wagner

Plaintiff
Kkevin Wagner

Vv.
Defendant

‘The Sherwin-Williams Company

https://ecf.nywd.uscourts.gov/cgi-bin/DktRpt.pl?210578157135624-L 8010-1

represented by

represented by

represented by

Date Filed: 10/19/2005

Jury Demand: Defendant
Nature of Suit: 360 P.L.: Other
Jurisdiction: Diversity

Marti J. Zuffranieri

Law Office of Martin J. Zuffranieri
2746 Delaware Avenue

Kenmore , NY 14217
716-875-5000

LEAD ATTORNEY

ATTORNEY TO BE NOTICED

Martin J. Zuffranieri

(See above for address)

LEAD ATTORNEY

ATTORNEY TO BE NOTICED

Christopher G. Floreale

Goldberg Segalla LLP

665 Main Street

Suite 400

Buffalo , NY 14203

716-648-3020

Email: cfloreale@goldbergsegalla.com
LEAD ATTORNEY

ATTORNEY TO BE NOTICED

Richard A. Braden
Goldberg Segalla LLP
665 Main Street

Suite 400

Buffalo , NY 14203
716-566-5400

Fax: 716-566-5401

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Email: rbraden@goldbergsegalla.com
LEAD ATTORNEY
ATTORNEY TO BE NOTICED

Defendant

Sherwin-Williams Development represented by Christopher G. Floreale
(See above for address)
LEAD ATTORNEY

ATTORNEY TO BE NOTICED

Richard A. Braden

(See above for address)

LEAD ATTORNEY
ATTORNEY TO BE NOTICED

 

Date Filed # | Docket Text

10/19/2005 1 | NOTICE OF REMOVAL by The Sherwin-Williams Company, Sherwin-
Williams Development, from Supreme Court Niagara County, case number
123315. (Filing fee $ 250 receipt number 18367)(DZ, ) (Entered: 10/20/2005)

10/24/2005 2 | NOTICE of Appearance by Christopher G. Floreale on behalf of all defendants
(Floreale, Christopher) (Entered: 10/24/2005)

 

 

 

10/24/2005

hae

ANSWER to Complaint by The Sherwin-Williams Company, Sherwin-Williams
Development.(Floreale, Christopher) (Entered: 10/24/2005)

10/24/2005 4 | DEMAND for Trial by Jury by The Sherwin-Williams Company, Sherwin-
Williams Development. (Floreale, Christopher) (Entered: 10/24/2005)

 

 

11/03/2005 S | Corporate Disclosure Statement by The Sherwin-Williams Company, Sherwin-
Williams Development. (’loreale, Christopher) (Entered: 11/03/2005)

 

11/03/2005 Set/Reset Hearings: Rule 16(b) Scheduling Conference set for 11/15/2005 03:15
PM before Hon. John T. Elfvin. The Court directs trial counsel to appear for rule
16 (6) conference. (It is strongly encouraged that the conference can be done by
telephone (716) 551-4226; however, this must be pre-arranged by 11/9/05, in
writing, with all parties agreeing as to who will initiate the conference call.)
NOTICE: Failure to appear in person -- or by telephone, if pre-arranged -- may
result in a dismissal of the lawsuit or an entry of default. (IBS, ) (Entered:
11/03/2005)

11/15/2005 Minute Entry for proceedings held before Judge John T. Elfvin : Rule 16(b)
Scheduling Conference held on 11/15/2005 via Telephone Conference. Court to
issue Order. Appearances via telephone: Martin J. Zuffranieri, Paul McCormick.
(JBS, }) (Entered: 11/16/2005)

14/18/2005 6 | SCHEDULING ORDER: Discovery due by 9/19/2006. Motions due by
10/20/2006. Trial Date Status Conference set for 11/17/2006 at 3:00 PM before
Hon. John T. Elfvin. Jurisdiction and power to participate herein as a facilitator
in settlement discussions is hereby GRANTED to Magistrate Judge H. Kenneth
Schroeder, Jr. Signed by Hon. John T. Elfvin on 11/16/05. (RAZ) (Entered:

 

 

 

 

 

 

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11/18/2005)

11/18/2005 CASE REFERRED to Magistrate Judge H. Kenneth Schroeder, Jr. for settlement
purposes. (RAZ) (Entered: 11/18/2005)

11/17/2006 Minute Entry for proceedings held before Judge John T. Elfvin : Scheduling

Conference to Set a Date for Trial was held on 11/17/2006. Colloquy Court and
Counsel. Court was advised by counsel that the case still has outstanding
discovery. Court adjourned matter sine die. Counsel is to notify Court when
discovery is completed and a date will be scheduled to Set a Date for Trial.
Appearances: Martin J. Zuffranieri, Christopher G. Floreale. (Court Reporter
HUNT.) GBS, ) (Entered: 11/24/2006)

01/22/2007 7 | SECOND SCHEDULING (TEXT) ORDER: Discovery due by 5/18/2007.
Motions due by 6/8/2007. Trial Date Status Conference set for 6/22/2007 at 3:00
PM before Hon. John T. Elfvin.Issued by Hon. John T. Elfvin on 1/22/07. (RAZ)
(Entered: 01/22/2007)

 

 

06/22/2007 Minute Entry for proceedings held before Judge John T. Elfvin : Conference was
scheduled to set a date for trial on 6/22/2007. The Court advised counsel the case
would be referred to Chief Judge Richard J. Arcara. (Court Reporter HUNT-
Patricia Galas.) (JIBS) (Entered: 06/27/2007)

 

07/22/2007 Case REASSIGNED to Judge Richard J. Arcara. Judge John T. Elfvin no longer
assigned to the case. (RAZ) (Entered: 07/22/2007)

 

 

 

 

 

 

 

 

 

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1:05-cv-00745-RJA Wagner et al v. The Sherwin-Williams Company et al
Richard J. Arcara, presiding
Date filed: 10/19/2005
Date of last filing: 07/22/2007

Deadlines/Hearings

 

 

 

 

Doc. Deadline/Hearing Event Due/Set | Satisfied | Terminated
No. Filed
7 Discovery Deadline 01/22/2007 | 05/18/2007
7 8 Motions Deadline 01/22/2007 | 06/08/2007
7 @ Trial Date Status Conference | 01/22/2007 | 06/22/2007
at 03:00 PM

 

 

 

 

 

 

 

 

 

 

 

 

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Case 1:05-cv-00745-RJA-HKS Document8 Filed 12/08/08 Page 12 of 15

 
Case 1:05-cv-00745-RJA-HKS Document 8 Filed 12/08/08 Page 13 of 15

GOLDBERG SEGALLA ‘*

Attorneys at Law

 

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Direct dial 716.566.5413 716.566.5400 Fax 716.566.5401
cfloreale@goldbergsegalla.com www.goldbergsegalla.com

November 6, 2008

Martin J. Zuffranieri, Esq. THIRD REQUEST
The Eberhardt Mansion

2746 Delaware Avenue

Buffalo, New York 14217

Re: Wagner v. Sherwin Williams
Our File No. 14400.0012

Dear Mr. Zuffraniert:

This is in furtherance of my letter of May 1, 2008, a copy of which in enclosed,
To date, you have not provided the requested responses.

Additionally, Mrs. Wagner signed out her films in April of 2004 from Kenmore
Mercy Hospital (a CT scan of head and spine dated 2/20/04) as weil as films from St. Josephs’
Hospital in April of 2004, Please advise the whereabouts of those films so that we can arrange
for copies.

Lastly, we requested your assistance quite some time ago in securing the file from
Progressive. You may recall that Progressive intend to charge us $1.95 per page for their file, a
total of $1694.95. We have not been able to move them from this position. If the request is
made by your office, the cost will be $.75 per page.

Kindly respond in the next 30 days to avoid motion practice with regard to all of
the above.

Very truly yours,

Christopher G. Floreale

CGF/ym
Enc.

  
Case 1:05-cv-00745-RJA-HKS Document8 Filed 12/08/08 Page 14 of 15

GOLDBERG SEGALLA

Attorneys at Law

 
     

PENNSYLVANIA NEW YORK. NEW JERSEY

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cfloreale@goldbergsegalla.com www. goldbergsegalla.com

May 1, 2008

Martin J. Zuffranieri, Esq. SECOND REQUEST

The Eberhardt Mansion

2746 Delaware Avenue

Buffalo, New York 14217

Re: Wagner v. Sherwin Williams

Our File No. 14400.0012
Dear Mr. Zuffranieri:
On or about December 5, 2008, we forwarded you a copy of Mrs. Wagner’s file that we

received from Social Security Disability. At that time, we requested authorizations to obtain records as
follows, based upon our review of the records contained within the Social Security file:

l. st. Josephs’ Hospital, 2605 Harlem Road, Cheektowaga, 14225, back to 1998;

2. Leeland Jones MD, 1268 Orchard Park Road, West Seneca, 14224, back to 1998;

3. Beverly Stewart, P.T., 1036 Olean Road, East Aurora, 14052, back to 1998:

4, Dr. Kull, DDS, 4134 Seneca Street, West Seneca, 14224, back to 1998:

5. James Corasanti, MD, 2625 Harlem Road, West Seneca, 14224, back to 1998;

6. Dr. Sobie, 897 Delaware Avenue, Buffalo, 14203, back to 1998;

7. Physicians MRI, 2625 Harlem Road, Suite 110 Cheektowaga, 14225, for cervical spine
study of March 8, 2000 and brain study of May 8, 2002;

8. suburban Cardiology, Friedrich Albrecht, MD, 831 Maple Road, Williamsville, 14221,
back to 2003:

9. Cleveland Clinic Headache Center, 9500 Euclid Avenue, Cleveland, OH, 44195, back to
1999,

10, Jeffrey Lewis MD, 550 Orchard Park Road, Suite A105, West Seneca, 14224, back to
1998.

I. Dr. Lawrence (psychiatrist), please provide address, back to 1998;

12. Patrick Hughes MD, 550 Orchard Park Road, West Seneca, 14224, back to 1993.

As of today’s date, however, you have failed to provide authorizations as requested. Please provide the
requested discovery within 30 days or we will have no option but to serve a motion to compel with
respect to same.

Very truly yours,

Christopher G. Floreale

 
Case 1:05-cv-00745-RJA-HKS Document 8 Filed 12/08/08 Page 15 of 15

 

 

_GOLDBERG SEGALLA “*

Altorneys at Law

    
 

NEW YORI NEW JERSEY
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cfloreale@goldbergsegalla.com www. goldbergsegalla.com

December 5, 2007

Martin J. Zuffranieri, Esq.
The Eberhardt Mansion
2746 Delaware Avenue
Buffalo, New York 14217

Re:

Wagner v. Sherwin Williams
Our File No. 14400.0012

Dear Mr. Zuffraniert:

Enclosed is a copy of Mrs. Wagner’s file that we received from Social Security

Disability. Please provide authorizations to obtain records as follows, based upon our review of the
records contained in the Social Security file:

Ln Re

9,

10.

CGF/ljm
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St. Josephs’ Hospital, 2605 Harlem Road, Cheektowaga, 14225, back to 1998;

Leeland Jones MD, 1268 Orchard Park Road, West Seneca, 14224, back to 1998;
Beverly Stewart, P.T., 1036 Olean Road, East Aurora, 14052, back to 1998:

Dr, Kull, DDS, 4134 Seneca Street, West Seneca, 14224, back to 1998;

James Corasanti, MD, 2625 Harlem Road, West Seneca, 14224, back to 1998:

Dr. Sobie, 897 Delaware Avenue, Buffalo, 14203, back to 1998:

Physicians MRI, 2625 Harlem Road, Suite 110 Cheektowaga, 14225, for cervical spine
study of March 8, 2000 and brain study of May 8, 2002,

suburban Cardiology, Friedrich Albrecht, MD, 831 Maple Road, Williamsville, 14221,
back to 2003;

Cleveland Clinic Headache Center, 9500 Euclid Avenue, Cleveland, OH, 44195, back to
1999:

Jeffrey Lewis MD, 550 Orchard Park Road, Suite A105, West Seneca, 14224, back to
1998.

Dr, Lawrence (psychiatrist), please provide address, back to 1998;

Patrick Hughes MD, 550 Orchard Park Road, West Seneca, 14224, back to 1993.

Thank you for your courtesy.

Very truly yours,

Christopher G. Floreale

 
